                     Case 4:14-cr-00211-DPM                     Document 536              Filed 11/06/15       Page 1 of 6
AO 245B        (Rev. 09/J l) Judgment in a Criminal Case
                                                                                                                           FILED
                                                                                                                       U.S. DISTRICT COURT
               Sheet 1                                                                                             EASTERN DISTRICT ARKANSAS




                                                               Eastern District of Arkansas
                                                                           )
              UNITED STATES OF AMERICA                                     )        JUDGMENT IN A CRIMINAL CASE
                                    v.                                     )
                           Brandon Riley                                   )
                                                                                    Case Number: 4:14-cr-211-DPM-14
                                                                           )
                                                                           )        USM Number: 28839-009
                                                                           )
                                                                           )         Evelyn L. Moorehead
                                                                                    Defendant's Attorney
THE DEFENDANT:
ftpleaded guilty to count(s)             1 of the Indictment

O pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
21 U.S.C. §§ 846 &                  Conspiracy to Distribute and to Possess with Intent to

     841(a)(1) & (b)(1)(C)          Distribute Oxycodone, a Class C Felony                                   4/2/2014                    1



       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
~Count(s)        49 & 50                                   D is     ifare dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 daY.S of any chan_ge of name, residence
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fuily paid. Ifordered to pay restitution;
the defenoant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                            11/4/2015
                                                                           Date of Imposition of Judgment




                                                                           Signature of Jui:lge      (/




                                                                            D.P. Marshall Jr.                           U.S. District Judge
                                                                          Name and Title of Judge



                                                                          Date
                      Case 4:14-cr-00211-DPM                        Document 536           Filed 11/06/15     Page 2 of 6
AO 245B       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                          Judgment- Page __2_ of   6
DEFENDANT: Brandon Riley
CASE NUMBER: 4:14-cr-211-DPM-14

                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    30 months.




      ilf" The court makes the following recommendations to the Bureau of Prisons:
    1) that Riley participate in a residential drug abuse program, or non-residential programs if he does not qualify for RDAP;
    2) that Riley participate in educational and vocational programs during incarceration; and
    3) designation to FCI Forrest City, or the available facility closest to central Arkansas, to facilitate family visitation.

      ill' The defendant is remanded to the custody of the United States Marshal.
      O The defendant shall surrender to the United States Marshal for this district:
          0    at                                      0     a.m.     0   p.m.     on

          D as notified by the United States Marshal.

      0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          0    as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                                to

a   ~~~~~~~~~~~~~~~
                                                           , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL
                       Case 4:14-cr-00211-DPM                 Document 536             Filed 11/06/15           Page 3 of 6

AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                                           3_ of
                                                                                                            Judgment-Page __                   6
DEFENDANT: Brandon Riley
CASE NUMBER: 4:14-cr-211-DPM-14
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 4 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment ana at least two periodic drug tests
thereafter, as detennined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a fireann. ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, If applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
0        as direc.ted by the probation offi~er, the Bureal} of Prisons, or any state sex offender registration agency in which he or she resides,
         works, 1s a student, or was convicted of a quahfymg offense. (Check. if applicable.)

0        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STAND ARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 IO)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 24SB   (Rev. 09/l 1) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                           Judgment-Page   4     of         6
DEFENDANT: Brandon Riley
CASE NUMBER: 4:14-cr-211-DPM-14

                                         SPECIAL CONDITIONS OF SUPERVISION
 S1) Riley shall participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, or both. Riley shall abstain from excessive use of alcohol throughout the course of treatment.
                    Case 4:14-cr-00211-DPM                           Document 536             Filed 11/06/15         Page 5 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                                5_ of
                                                                                                               Judgment- Page _ _           6
DEFENDANT: Brandon Riley
CASE NUMBER: 4:14-cr-211-DPM-14
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                              Fine                                Restitution
TOTALS             $ 100.00                                                  $ 0.00                              $ 0.00



D    The determination of restitution is deferred until
                                                                 - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

O The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYJilent, unJess specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                                   Total Loss*          Restitution Ordered Priority or Percentage




TOTALS


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the                D    fine     O   restitution.

     0    the interest requirement for the            O   fine       O   restitution is modified as follows:



*Findings for the total amount of losses are req_uired under Chapters 109A, 110, 1 lOA, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April 2.3, 1996.
                    Case 4:14-cr-00211-DPM                     Document 536               Filed 11/06/15            Page 6 of 6
AO 24SB    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                               Judgment-Page -~6- of                    6
DEFENDANT: Brandon Riley
CASE NUMBER: 4:14-cr-211-DPM-14

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     r!/ Lump sum payment of$ _1_0_0_.o_o_ __                  due immediately, balance due

                 not later than                                      , or
                 in accordance
                                  ~-~-----~~

                                         0    C,      0 D,      O      E,or     'i/ F below; or
B     O    Payment to begin immediately (may be combined with                 O C,        0 D, or      O F below); or
C     O Payment in equal                             (e.g., weekly, monthly, quarter(v) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     O Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    O     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    rii/ Special instructions regarding the payment of criminal monetary penalties:
           If Riley is unable to pay the special assessment immediately, then during incarceration he shall pay 50 percent per
           month of all funds available to him until the assessment is paid in full.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal moneguy penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost{s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
